
PER CURIAM.
William Kempton appeals the trial court's order awarding attorney's fees and costs to Lawrence McComb, pursuant to section 768.79, Florida Statutes (2015), and Florida Rule of Civil Procedure 1.442. The award of attorney's fees and costs was *273based on the trial court's entry of a final judgment in favor of Mr. McComb after applying section 768.36, Florida Statutes (2015), to completely bar recovery by Mr. Kempton. We recently reversed the final judgment in favor of Mr. McComb with directions to enter a final judgment awarding damages to Mr. Kempton in accordance with the jury's apportionment of fault. See Kempton v. McComb, 264 So.3d 1180, 2019 WL 982849 (Fla. 5th DCA Mar. 1, 2019).
Given our reversal of the final judgment, we must reverse the trial court's order awarding attorney's fees and costs in Mr. McComb's favor. See Hodge v. Cichon, 79 So.3d 950 (Fla. 5th DCA 2012) (reversing order granting attorney's fees pursuant to section 768.79 where appellate court reversed trial court's order granting final summary judgment in favor of appellees); City of Hollywood v. Witt, 939 So.2d 315, 319 (Fla. 4th DCA 2006) ("[W]here an award of attorney's fees is dependent upon the judgment obtained, the reversal of the underlying judgment necessitates the reversal of the fee award.").
REVERSED.
EVANDER, C.J., ORFINGER and SASSO, JJ., concur.
